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                       Exhibit 2
                                to
             Memorandum of United States in Opposition
               To Dey Defendants' Motion in Limine
             To Exclude Opinions of Mark Duggan, Ph.D
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                                                                             Page 247
                    UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MASSACHUSETTS

     - - - - - - - - - - - - - - -

     IN RE:    PHARMACEUTICAL       )   MDL NO. 1456

     INDUSTRY AVERAGE WHOLESALE     )   CIVIL ACTION

     PRICE LITIGATION               )   01-CV-12257-PBS

     THIS DOCUMENT RELATES TO       )

     United States of America ex    ) Judge Patti B. Saris

     rel. Ven-a-Care of the         )

     Florida Keys, Inc., et al.     )

          v.                        )

     Boehringer Ingelheim Corp.,    ) Chief Magistrate

     et al., Civil Action No.       ) Judge Marianne B.

     07-CV-10248-PBS                ) Bowler

     - - - - - - - - - - - - - - -



                           CONFIDENTIAL

       Videotaped deposition of MARK G. DUGGAN, PH.D.

                            Volume II

                         Washington, D.C.

                      Friday, March 6, 2009

                            9:30 a.m.




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                                                                             Page 253
  1
        oath today?
  2
               A.     I do understand that.
  3
               Q.     I have a few follow-up questions from
  4
        yesterday that I want to come back to.                       Your
  5
        alternative AWP price that you calculated, you
  6
        replaced with 125 percent or used a 25 percent
  7
        markup.      Can you explain how you came up with that
  8
        25 percent?
  9
               A.     I introduced this margin between actual
 10
        average prices and the prices that I used, this 25
 11
        percent margin, with an eye toward the -- one of
 12
        the factors that I considered in using 125 as
 13
        opposed to a different -- 100 percent or 150
 14
        percent or what have you -- was that if you look
 15
        over the time period of interest in this case, a
 16
        number of state Medicaid programs and the federal
 17
        Medicare program later employed adjudication
 18
        methodologies that used AWP minus a certain
 19
        amount.
 20
                      At some level the most natural price at
 21
        first blush without sort of drilling down and
 22
        thinking about the complexities, would be the

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  1
        actual average price.             That's actually the first
  2
        price that I use in -- I think California is the
  3
        first state where I go through several alternative
  4
        calculations.         However, I -- and that is, in my
  5
        judgment, not an entirely unreasonable thing to
  6
        do.
  7
                      However, in the interests of being
  8
        conservative, recognizing that many states employ
  9
        formulas that reimburse AWP minus 5 percent, AWP
 10
        minus 10 percent, and so forth, this 25 percent
 11
        cushion, this 25 percent markup over the actual
 12
        average price had resulted in the ingredient cost
 13
        being in virtually every case -- the ingredient
 14
        cost reimbursement in virtually every case greater
 15
        than the actual average price.                  So that was sort
 16
        of one of the factors that I considered.
 17
                      I didn't -- my goal in the analysis was
 18
        to determine to what extent Medicare and Medicaid
 19
        would have paid less if prices that were more
 20
        reflective of actual transaction prices had been
 21
        used as the AWPs and the WACs.
 22
               Q.     Where did the actual 25 percent come

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